 Fill in this information to identify the case:

 Debtor name         Sarai Investment Corporation

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF ALABAMA

 Case number (if known)         18-82950
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          November 1, 2018                        X /s/ James C. Mitchell
                                                                       Signature of individual signing on behalf of debtor

                                                                       James C. Mitchell
                                                                       Printed name

                                                                       CEO
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Debtor name            Sarai Investment Corporation

 United States Bankruptcy Court for the:                       NORTHERN DISTRICT OF ALABAMA

 Case number (if known)               18-82950
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                    12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $           220,000.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $         6,584,412.83

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $         6,804,412.83


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $             70,584.84


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                     0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$         2,237,765.17


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $           2,308,350.01




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                  page 1
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 Debtor name         Sarai Investment Corporation

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                                                                                                                          Check if this is an
                                                                                                                          amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                         12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
       Yes Fill in the information below.
    All cash or cash equivalents owned or controlled by the debtor                                                        Current value of
                                                                                                                          debtor's interest

 Part 2:        Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:        Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.

 11.       Accounts receivable
           11a. 90 days old or less:                         3,049,214.90    -                      1,524,607.45 = ....            $1,524,607.45
                                              face amount                        doubtful or uncollectible accounts




           11b. Over 90 days old:                            3,975,590.78    -                     1,987,795.39 =....              $1,987,795.39
                                              face amount                        doubtful or uncollectible accounts



 12.       Total of Part 3.                                                                                                    $3,512,402.84
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 1
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                Name




 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.


 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used      Current value of
                                                                              debtor's interest      for current value          debtor's interest
                                                                              (Where available)

 39.       Office furniture
           Desks & other office equipment                                                 $362.30                                           Unknown



 40.       Office fixtures
           Computers, laptops, cell phones                                            $50,000.00                                          $72,000.00



 41.       Office equipment, including all computer equipment and
           communication systems equipment and software

 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                              $72,000.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
               No
               Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.


 Part 9:        Real property
54. Does the debtor own or lease any real property?

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 2
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        No. Go to Part 10.
        Yes Fill in the information below.

 55.        Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

            Description and location of                   Nature and          Net book value of        Valuation method used    Current value of
            property                                      extent of           debtor's interest        for current value        debtor's interest
            Include street address or other               debtor's interest   (Where available)
            description such as Assessor                  in property
            Parcel Number (APN), and type
            of property (for example,
            acreage, factory, warehouse,
            apartment or office building, if
            available.
            55.1. Office building at
                     3300 Westmill Road,
                     Huntsville, AL 335805                                            $35,000.00       Appraisal                          $220,000.00




 56.        Total of Part 9.                                                                                                            $220,000.00
            Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
            Copy the total to line 88.

 57.        Is a depreciation schedule available for any of the property listed in Part 9?
               No
               Yes

 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
               No
               Yes

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.

            General description                                               Net book value of        Valuation method used     Current value of
                                                                              debtor's interest        for current value         debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets

 61.        Internet domain names and websites
            One internet domain name                                                        $9.99                                                   $9.99



 62.        Licenses, franchises, and royalties

 63.        Customer lists, mailing lists, or other compilations

 64.        Other intangibles, or intellectual property

 65.        Goodwill

 66.        Total of Part 10.                                                                                                                   $9.99
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
               No
               Yes

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                      page 3
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 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
               No
               Yes

 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
               No
               Yes

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.

                                                                                                                               Current value of
                                                                                                                               debtor's interest


 71.        Notes receivable
            Description (include name of obligor)

 72.        Tax refunds and unused net operating losses (NOLs)
            Description (for example, federal, state, local)

            Payroll taxes paid on behal fo WW Contractors                                      Tax year 2017                               Unknown



 73.        Interests in insurance policies or annuities

 74.        Causes of action against third parties (whether or not a lawsuit
            has been filed)

            Past due receivables                                                                                                      $3,000,000.00
            Nature of claim
            Amount requested                                         $3,000,000.00



 75.        Other contingent and unliquidated claims or causes of action of
            every nature, including counterclaims of the debtor and rights to
            set off claims

 76.        Trusts, equitable or future interests in property

 77.        Other property of any kind not already listed Examples: Season tickets,
            country club membership

 78.        Total of Part 11.                                                                                                      $3,000,000.00
            Add lines 71 through 77. Copy the total to line 90.

 79.        Has any of the property listed in Part 11 been appraised by a professional within the last year?
               No
               Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 4
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                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                     $0.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                 $3,512,402.84

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                          $72,000.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                        $220,000.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $9.99

 90. All other assets. Copy line 78, Part 11.                                                    +              $3,000,000.00

 91. Total. Add lines 80 through 90 for each column                                                         $6,584,412.83            + 91b.              $220,000.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $6,804,412.83




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                           page 5
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 Debtor name          Sarai Investment Corporation

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF ALABAMA

 Case number (if known)              18-82950
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
          No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
          Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
        Alabama Department of
 2.1                                                                                                                         $70,584.84                      $0.00
        Revenue                                       Describe debtor's property that is subject to a lien
        Creditor's Name                               State Income Tax
        Income Tax Division
        P O Box 327460
        Montgomery, AL 36132
        Creditor's mailing address                    Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                           No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.



 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.            $70,584.84

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity




Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                 page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Sarai Investment Corporation

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF ALABAMA

 Case number (if known)           18-82950
                                                                                                                                                   Check if this is an
                                                                                                                                                   amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $15,175.75
           Alabama Dept of Labor                                                Contingent
           649 Monroe Street                                                    Unliquidated
           Montgomery, AL 36131
                                                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    State Unemployment Insurance
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $140,000.00
           American Express Company                                             Contingent
           200 Vesey Street                                                     Unliquidated
           New York, NY 10285-3106
                                                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $19,463.23
           Arkansas Department of Finance                                       Contingent
           Little Rock Revenue Central Office                                   Unliquidated
           1900 W. 7th Street, Room 1040
                                                                                Disputed
           Little Rock, AR 72201
           Date(s) debt was incurred
                                                                             Basis for the claim:    State Income Tax
           Last 4 digits of account number                                   Is the claim subject to offset?       No     Yes

 3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $84,257.04
           Baker Donelson                                                       Contingent
           420 20th Street North                                                Unliquidated
           Birmingham, AL 35203
                                                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Unpaid Legal Fees
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                     page 1 of 5
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 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           Unknown
          Everest Funding                                                       Contingent
          8200 NW 52 Terrace, Floor 2                                           Unliquidated
          Doral, FL 33166
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Accounts Receivable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $452,220.80
          Internal Revenue Service                                              Contingent
          PO Box 7346                                                           Unliquidated
          Philadelphia, PA 19101-7346
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $1,039,256.30
          James Calvin Mitchell                                                 Contingent
          6017 Doc Sandlin Road                                                 Unliquidated
          Huntsville, AL 35811
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unpaid Wages
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $203,043.43
          Joshuah Rodery                                                        Contingent
          7617 Mt. Carmel Drive                                                 Unliquidated
          Orlando, FL 32835
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unpaid Wages
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $1,420.56
          Michigan Department of Treasury                                       Contingent
          Business Tax Section                                                  Unliquidated
          PO Box 30427
                                                                                Disputed
          Lansing, MI 48909
          Date(s) debt was incurred
                                                                             Basis for the claim:    Sales, Use & Withholding Taxes for March, April, May,
                                                                             & June 2018
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $92.49
          Michigan Department of Treasury                                       Contingent
          Business Tax Section                                                  Unliquidated
          PO Box 30427
                                                                                Disputed
          Lansing, MI 48909
          Date(s) debt was incurred
                                                                             Basis for the claim:    State Income Tax
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $703.80
          Michigan Department of Treasury                                       Contingent
          Business Tax Section                                                  Unliquidated
          PO Box 30427
                                                                                Disputed
          Lansing, MI 48909
          Date(s) debt was incurred
                                                                             Basis for the claim:    State Unemployment Tax for 1st Quarter
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 2 of 5
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              Name

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $805.23
          Oklahoma Tax Commission                                               Contingent
          PO Box 26860                                                          Unliquidated
          Oklahoma City, OK 73126
                                                                                Disputed
          Date(s) debt was incurred
                                                                                            State Withholding Tax for December 2017, March
                                                                             Basis for the claim:
          Last 4 digits of account number                                    2018 & June 2018
                                                                             Is the claim subject to offset?     No       Yes

 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           Unknown
          Pearl Capital                                                         Contingent
          100 William Street, 9th Floor                                         Unliquidated
          New York, NY 10038
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Accounts Receivable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $1,993.48
          Pennsylvania Department of Revenue                                    Contingent
          PO Box 280422                                                         Unliquidated
          Harrisburg, PA 17128
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    State Withholding Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $2,515.31
          Pennsylvania Department of Revenue                                    Contingent
          PO Box 280422                                                         Unliquidated
          Harrisburg, PA 17128
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    State Unemployment Taxes for 1st & 2nd Quarters
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $20,347.20
          Silver Star Shopping                                                  Contingent
          301 S. New York Avenue                                                Unliquidated
          Suite 200
                                                                                Disputed
          Winter Park, FL 32789
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $12,310.00
          Terrence Howard                                                       Contingent
          2903 Chantry Place                                                    Unliquidated
          Gurley, AL 35748
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unpaid Wages
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $8,678.09
          Texas Comptroller of Public Accounts                                  Contingent
          PO Box 13528, Capital Station                                         Unliquidated
          Austin, TX 78711
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    State Income Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Sarai Investment Corporation                                                            Case number (if known)            18-82950
              Name

 3.19      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $8,678.09
           Texas Comptroller of Public Accounts                                 Contingent
           PO Box 13528, Capital Station                                        Unliquidated
           Austin, TX 78711
                                                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    State Unemployment Taxes
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.20      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $66,332.09
           Virginia Tax                                                         Contingent
           Office of Customer Services                                          Unliquidated
           PO Box 1115
                                                                                Disputed
           Richmond, VA 23218-1115
           Date(s) debt was incurred
                                                                             Basis for the claim:    State Income Tax
           Last 4 digits of account number                                   Is the claim subject to offset?     No       Yes

 3.21      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $66,332.09
           Virginia Tax                                                         Contingent
           Office of Customer Services                                          Unliquidated
           PO Box 1115
                                                                                Disputed
           Richmond, VA 23218-1115
           Date(s) debt was incurred
                                                                             Basis for the claim:    State Withholding Taxes for 2017 & 2018
           Last 4 digits of account number                                   Is the claim subject to offset?     No       Yes

 3.22      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $1,987.90
           Virginia Tax                                                         Contingent
           Office of Customer Services                                          Unliquidated
           PO Box 1115
                                                                                Disputed
           Richmond, VA 23218-1115
           Date(s) debt was incurred
                                                                             Basis for the claim:    State Unemployment Tax
           Last 4 digits of account number                                   Is the claim subject to offset?     No       Yes

 3.23      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $17,152.29
           Voya                                                                 Contingent
           Accounting and Collecitons                                           Unliquidated
           PO Box 75131
                                                                                Disputed
           Charlotte, NC 28275
                                                                             Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?     No       Yes

 3.24      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $75,000.00
           WW Contractors, Incorporated                                         Contingent
           115 W. Mulberry Street                                               Unliquidated
           Baltimore, MD 21201
                                                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Pending lawsuit
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the      Last 4 digits of
                                                                                                      related creditor (if any) listed?            account number, if
                                                                                                                                                   any




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 4 of 5
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           Name and mailing address                                                              On which line in Part1 or Part 2 is the       Last 4 digits of
                                                                                                 related creditor (if any) listed?             account number, if
                                                                                                                                               any
 4.1       Christopher S. Young, Esq.
           Business & Technology Law Group                                                       Line     3.24
           6310 Hillside Court, Ste. 160
                                                                                                        Not listed. Explain
           Columbia, MD 21046

 4.2       Jospeh S. Ammons
           649 Monroe Street                                                                     Line     3.1
           Montgomery, AL 36131
                                                                                                        Not listed. Explain

 4.3       Oklahoma Tax Commission
           PO Box 26850                                                                          Line     3.12
           Oklahoma City, OK 73126-0850
                                                                                                        Not listed. Explain


 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                     Total of claim amounts
 5a. Total claims from Part 1                                                                       5a.          $                          0.00
 5b. Total claims from Part 2                                                                       5b.    +     $                  2,237,765.17

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                            5c.          $                    2,237,765.17




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 5 of 5
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 Fill in this information to identify the case:

 Debtor name         Sarai Investment Corporation

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF ALABAMA

 Case number (if known)         18-82950
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

 2.1       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.2       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.3       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.4       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Sarai Investment Corporation

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF ALABAMA

 Case number (if known)         18-82950
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                            Check all schedules
                                                                                                                                 that apply:
    2.1                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                  State      Zip Code


    2.2                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                  State      Zip Code


    2.3                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                  State      Zip Code


    2.4                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                  State      Zip Code




Official Form 206H                                                           Schedule H: Your Codebtors                                       Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Sarai Investment Corporation

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF ALABAMA

 Case number (if known)         18-82950
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/16
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                               $734,499.90
       From 1/01/2018 to Filing Date
                                                                                                   Other


       For prior year:                                                                             Operating a business                           $15,695,160.00
       From 1/01/2017 to 12/31/2017
                                                                                                   Other


       For year before that:                                                                       Operating a business                             $3,836,661.00
       From 1/01/2016 to 12/31/2016
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be adjusted on 4/01/19
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
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    or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,425. (This amount
    may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
    listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
    debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                           Dates                   Total amount of value        Reasons for payment or transfer
       Relationship to debtor
       4.1.    James Calvin Mitchell                                        6/28/2018 &                      $45,000.00          Repayment of short term loans
               6017 Doc Sandlin Road                                        8/1/2018                                             for payroll & payments made to
               Huntsville, AL 35811                                                                                              American Express
               CEO

       4.2.    Joshuah Rodery                                               6/28/2018 $                      $44,382.72          Payment to American Express
               7617 Mt. Carmel Drive                                        7/27/2018                                            Business Account on
               Orlando, FL 32835                                                                                                 company's behalf. No personal
               Employee                                                                                                          expenses included.


5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                               Describe of the Property                                      Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                 Amount
                                                                                                                               taken
       Pearl Capital                                             Drafted funds directly to James C.                                                       $92,000.00
       100 William Street, 9th Floor                             Mitchell's retirement account
       New York, NY 10038                                        (subsequently returned)
                                                                 Last 4 digits of account number:


 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                        Nature of case             Court or agency's name and                Status of case
               Case number                                                                  address
       7.1.    Sarai Investment Corporation                      Civil                      Circuit Court of Madison                     Pending
               v. Virginia Gilchrist, Lisa                                                  County, Alabama                              On appeal
               Rogers, Systems                                                              100 Northside Square
                                                                                                                                         Concluded
               Development Corporation,                                                     Huntsville, AL 35801
               and PGR Consultants, LLC
               CV-2018-000015




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 Debtor       Sarai Investment Corporation                                                                  Case number (if known) 18-82950



               Case title                                        Nature of case               Court or agency's name and               Status of case
               Case number                                                                    address
       7.2.    WW Contractors,                                   Civil                        Circuit Court for Baltimore                 Pending
               Incorporated v. Sarai                                                          City                                        On appeal
               Invesment Corporation, SSG                                                     Courthouse East
                                                                                                                                          Concluded
               WW JV, LLC, Sarai Services                                                     111 North Calvert Street,
               Group, Inc., BRM WW JV,                                                        Rm. 462
               LLC, and BRM Services, Inc.                                                    Baltimore, MD 21202
               24C18001742

       7.3.    Alabama Department of Labor                       Civil                        Circuit Court of Madison                    Pending
               v. Sarai Investment                                                            County, Alabama                             On appeal
               Corporation                                                                    100 Northside Square
                                                                                                                                          Concluded
               CV-2018-901880                                                                 Huntsville, AL 35801


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                      Description of the gifts or contributions                Dates given                               Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                      Amount of payments received for the loss                 Dates of loss               Value of property
       how the loss occurred                                                                                                                                       lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:      Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                Who was paid or who received                         If not money, describe any property transferred           Dates                    Total amount or
                the transfer?                                                                                                                                    value
                Address

12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

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       Name of trust or device                                       Describe any property transferred                Dates transfers             Total amount or
                                                                                                                      were made                            value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

               Who received transfer?                            Description of property transferred or                  Date transfer            Total amount or
               Address                                           payments received or debts paid in exchange             was made                          value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                Address                                                                                                    Dates of occupancy
                                                                                                                           From-To

 Part 8:      Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                Facility name and address                        Nature of the business operation, including type of services            If debtor provides meals
                                                                 the debtor provides                                                     and housing, number of
                                                                                                                                         patients in debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?

                       No Go to Part 10.
                      Yes. Fill in below:
                    Name of plan                                                                               Employer identification number of the plan
                    AXA Retirement                                                                             EIN: 690866

                    Has the plan been terminated?
                      No
                       Yes

                       No Go to Part 10.
                      Yes. Fill in below:
                    Name of plan                                                                               Employer identification number of the plan
                    Voya Financial                                                                             EIN: 817157

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                    Has the plan been terminated?
                       No
                       Yes


 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and                     Last 4 digits of         Type of account or          Date account was           Last balance
              Address                                            account number           instrument                  closed, sold,          before closing or
                                                                                                                      moved, or                       transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

       Depository institution name and address                       Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

       Facility name and address                                     Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
       U-Haul                                                        Courtney Mitchell                    Office equipment & desks                No
       11410 W. Colonial Drive                                       1535 Americana                                                               Yes
       Ocoee, FL 34761                                               Boulevard
                                                                     Apt. 12P
                                                                     Orlando, FL 32839



 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None

       Owner's name and address                                      Location of the property             Describe the property                            Value
       VSAT                                                          3405 Triana Boulevard                Teleport equipment                      $600,000.00
       1090 Queensgate Drive SE                                      SW
       Smyrna, GA 30082                                              Huntsville, AL 35805


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).


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      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                            Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed
    25.1.    Sarai Services Group, Inc.                       Joint venture for government work                EIN:         XX-XXXXXXX
             3405 Triana Boulevard SW
             Huntsville, AL 35805                                                                              From-To      7/1/2016


26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       James Higginbotham                                                                                                         2/6/2018 - Present
                    7689 Raegan Lane
                    Spanish Fort, AL 36527
       26a.2.       Juan Alvalle                                                                                                               3/20/2017 - 1/19/2018
                    7148 Altis Way
                    Apt. 302
                    Orlando, FL 32836



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       Name and address                                                                                                                   Date of service
                                                                                                                                          From-To
       26a.3.       Catherine Herrera                                                                                                     1/9/2018 - 3/15/2018
                    2569 Runion Circle
                    Orlando, FL 32837
       26a.4.       Amanda King                                                                                                           7/2016 - 4/28/2017
                    Address Unknown


    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None

       Name and address                                                                                                                   Date of service
                                                                                                                                          From-To
       26b.1.       Hall, Albright, Garrison & Associates PC                                                                              4/1/2018 - 5/24/2018
                    400 Meridian Street, Ste. 201
                    Huntsville, AL 35801
       Name and address                                                                                                                   Date of service
                                                                                                                                          From-To
       26b.2.       RNA Tax and Accounting                                                                                                1/1/2016 - 2/1/2017
                    7863 W. Sample Road
                    Coral Springs, FL 33065

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address
       26d.1.       National Bank of Commerce
                    P.O. Box 381748
                    Birmingham, AL 35238

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                         Date of inventory        The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any             % of interest, if
                                                                                                          interest                               any
       James Calvin Mitchell                          6017 Doc Sandlin Road                               CEO / Ownership                        100%
                                                      Huntsville, AL 35811




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       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Joshuah Rodery                                 7617 Mt. Carmel Drive                               COO                                   0%
                                                      Orlando, FL 32835



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                     Amount of money or description and value of             Dates             Reason for
                                                                 property                                                                  providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation
    Sarai Services Group, Inc.                                                                                 EIN:        XX-XXXXXXX

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation
    Central Pension Fund                                                                                       EIN:        Unknown

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         November 1, 2018

 /s/ James C. Mitchell                                                  James C. Mitchell
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         CEO

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes
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                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder
 James Calvin Mitchell                                                                                                           100%
 6017 Doc Sandlin Road
 Huntsville, AL 35811


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the CEO of the corporation named as the debtor in this case, declare under penalty of perjury that I have read the
foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



 Date November 1, 2018                                                       Signature /s/ James C. Mitchell
                                                                                            James C. Mitchell

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                               VERIFICATION OF CREDITOR MATRIX


I, the CEO of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to the

best of my knowledge.




 Date:       November 1, 2018                                           /s/ James C. Mitchell
                                                                        James C. Mitchell/CEO
                                                                        Signer/Title




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Alabama Department of Revenue             Michigan Department of Treasury      Texas Comptroller of Public Accou
Income Tax Division                       Business Tax Section                 PO Box 13528, Capital Station
P O Box 327460                            PO Box 30427                         Austin, TX 78711
Montgomery, AL 36132                      Lansing, MI 48909



Alabama Dept of Labor                     Michigan Department of Treasury      Texas Comptroller of Public Accou
649 Monroe Street                         Business Tax Section                 PO Box 13528, Capital Station
Montgomery, AL 36131                      PO Box 30427                         Austin, TX 78711
                                          Lansing, MI 48909



American Express Company                  Michigan Department of Treasury      Virginia Tax
200 Vesey Street                          Business Tax Section                 Office of Customer Services
New York, NY 10285-3106                   PO Box 30427                         PO Box 1115
                                          Lansing, MI 48909                    Richmond, VA 23218-1115



Arkansas Department of Finance            Oklahoma Tax Commission              Virginia Tax
Little Rock Revenue Central Office        PO Box 26860                         Office of Customer Services
1900 W. 7th Street, Room 1040             Oklahoma City, OK 73126              PO Box 1115
Little Rock, AR 72201                                                          Richmond, VA 23218-1115



Baker Donelson                            Pearl Capital                        Virginia Tax
420 20th Street North                     100 William Street, 9th Floor        Office of Customer Services
Birmingham, AL 35203                      New York, NY 10038                   PO Box 1115
                                                                               Richmond, VA 23218-1115



Everest Funding                           Pennsylvania Department of Revenue   Voya
8200 NW 52 Terrace, Floor 2               PO Box 280422                        Accounting and Collecitons
Doral, FL 33166                           Harrisburg, PA 17128                 PO Box 75131
                                                                               Charlotte, NC 28275



Internal Revenue Service                  Pennsylvania Department of Revenue   WW Contractors, Incorporated
PO Box 7346                               PO Box 280422                        115 W. Mulberry Street
Philadelphia, PA 19101-7346               Harrisburg, PA 17128                 Baltimore, MD 21201




James Calvin Mitchell                     Silver Star Shopping                 Christopher S. Young, Esq.
6017 Doc Sandlin Road                     301 S. New York Avenue               Business & Technology Law Group
Huntsville, AL 35811                      Suite 200                            6310 Hillside Court, Ste. 160
                                          Winter Park, FL 32789                Columbia, MD 21046



Joshuah Rodery                            Terrence Howard                      Jospeh S. Ammons
7617 Mt. Carmel Drive                     2903 Chantry Place                   649 Monroe Street
Orlando, FL 32835                         Gurley, AL 35748                     Montgomery, AL 36131



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Oklahoma Tax Commission
PO Box 26850
Oklahoma City, OK 73126-0850




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                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Sarai Investment Corporation in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 November 1, 2018                                                     /s/ Tazewell T. Shepard
 Date                                                                 Tazewell T. Shepard ASB-4962-S68T
                                                                      Signature of Attorney or Litigant
                                                                      Counsel for Sarai Investment Corporation
                                                                      Sparkman, Shepard & Morris, P.C.
                                                                      303 Williams Avenue, Suite 1411
                                                                      Huntsville, AL 35801




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           STATEMENT REGARDING AUTHORITY TO SIGN AND FILE PETITION
        I, James C. Mitchell, declare under penalty of perjury that I am the CEO of Sarai Investment Corporation, and
that the following is a true and correct copy of the resolutions adopted by the Board of Directors of said
corporation at a special meeting duly called and held on the 1st day of November, 2018.

      "Whereas, it is in the best interest of this corporation to file a voluntary petition in the United States
Bankruptcy Court pursuant to Chapter 11 of Title 11 of the United States Code;

       Be It Therefore Resolved, that James C. Mitchell, CEO of this Corporation, is authorized and directed to
execute and deliver all documents necessary to perfect the filing of a chapter 11 voluntary bankruptcy case on
behalf of the corporation; and

       Be It Further Resolved, that James C. Mitchell, CEO of this Corporation is authorized and directed to
appear in all bankruptcy proceedings on behalf of the corporation, and to otherwise do and perform all acts and
deeds and to execute and deliver all necessary documents on behalf of the corporation in connection with such
bankruptcy case, and

       Be It Further Resolved, that James C. Mitchell, CEO of this Corporation is authorized and directed to
employ Tazewell T. Shepard ASB-4962-S68T, attorney and the law firm of Sparkman, Shepard & Morris, P.C. to
represent the corporation in such bankruptcy case."

 Date November 1, 2018                                                         Signed   /s/ James C. Mitchell
                                                                                        James C. Mitchell




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                                                                     Resolution of Board of Directors
                                                                                    of
                                                                        Sarai Investment Corporation




      Whereas, it is in the best interest of this corporation to file a voluntary petition in the the United States
Bankruptcy Court pursuant to Chapter 11 of Title 11 of the United States Code;

       Be It Therefore Resolved, that James C. Mitchell, CEO of this Corporation, is authorized and directed to
execute and deliver all documents necessary to perfect the filing of a chapter 11 voluntary bankruptcy case on
behalf of the corporation; and

       Be It Further Resolved, that James C. Mitchell, CEO of this Corporation is authorized and directed to
appear in all bankruptcy proceedings on behalf of the corporation, and to otherwise do and perform all acts and
deeds and to execute and deliver all necessary documents on behalf of the corporation in connection with such
bankruptcy case, and

       Be It Further Resolved, that James C. Mitchell, CEO of this Corporation is authorized and directed to
employ Tazewell T. Shepard ASB-4962-S68T, attorney and the law firm of Sparkman, Shepard & Morris, P.C. to
represent the corporation in such bankruptcy case.

 Date November 1, 2018                                                            Signed    /s/ James C. Mitchell
                                                                                            James C. Mitchell


 Date                                                                             Signed




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